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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                     )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )      No. 18-CV-5369
                                             )
CAMBIUM NETWORKS, INC.                       )      Judge Feinerman
CAMBIUM NETWORKS, LTD.                       )
BLIP NETWORKS, INC.                          )
WINNCOM TECHNOLOGIES, INC.,                  )
SAKID AHMED, and                             )
DMITRY MOISEEV,                              )
                                             )
               Defendants.                   )


    UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL FOR PLAINTIFF
                     UBIQUITI NETWORKS, INC.

       Plaintiff Ubiquiti Networks, Inc. moves this Court for leave to withdraw the appearance

of Zachary R. Lazar of Morgan, Lewis & Bockius pursuant to Local Rule 83.17. In support of

this Motion, Plaintiff states as follows:

       1.      On May 1, 2019, this Court granted Ubiquiti’s Unopposed Motion for Withdrawal

and Substitution of Counsel for Plaintiff Ubiquiti Networks, Inc., naming counsel from the law

firm of Fox Swibel, LLP as counsel of record, and withdrawing prior counsel from Morgan,

Lewis & Bockius, LLP.

       2.      Zachary R. Lazar of Morgan, Lewis & Bockius was inadvertently omitted from

the prior motion, and remains listed as counsel of record, in addition to counsel from Fox Swibel,

LLP.

       3.      Granting this Motion will not prejudice any party or cause any delay as the Fox

Swibel lawyers have been acting as sole counsel of record since May 1, 2019.
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       4.      Counsel of record has conferred with opposing counsel, and opposing counsel has

indicated it does not object to the withdrawal of counsel.

       WHEREFORE, Plaintiff respectfully requests that the Court grant the foregoing motion

for withdrawal of Zachary R. Lazar as counsel.

 Dated: May 24, 2019                              Respectfully submitted,

                                                  MORGAN, LEWIS & BOCKIUS LLP

                                                  /s/ Zachary R. Lazar
                                                  Zachary R. Lazar (IL Bar No. 6325727)
                                                  77 West Wacker Drive
                                                  Chicago, IL 60601-5094
                                                  312.324.1000 (Telephone)
                                                  312.324.1001 (Facsimile)
                                                  zachary.lazar@morganlewis.com
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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 24, 2019, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.



                                                   /s/ Zachary R. Lazar
